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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

FRIENDS OF THE EARTH, et al.,                 :
                                              :
       Plaintiffs,                            :
                                              :
       v.                                     :       Civil Action No.:   21-2317 (RC)
                                              :
DEBRA A. HAALAND, et al.,                     :       Re Document No.:    34, 42, 43, 45
                                              :
       Defendants,                            :
                                              :
STATE OF LOUISIANA,                           :
                                              :
       Intervenor-Defendant.                  :
                                              :
AMERICAN PETROLEUM INSTITUTE,                 :
                                              :
       Intervenor-Defendant.                  :


                                          ORDER

 GRANTING IN PART AND DENYING IN PART PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT;
     GRANTING IN PART AND DENYING IN PART DEFENDANTS’ MOTION FOR SUMMARY
     JUDGMENT; GRANTING IN PART AND DENYING IN PART INTERVENOR-DEFENDANT
 LOUISIANA’S CROSS-MOTION FOR SUMMARY JUDGMENT; GRANTING IN PART AND DENYING
IN PART INTERVENOR-DEFENDANT AMERICAN PETROLEUM INSTITUTE’S CROSS-MOTION FOR
                               SUMMARY JUDGMENT

       For the reasons stated in the Court’s Memorandum Opinion separately and

contemporaneously issued, the Court GRANTS IN PART AND DENIES IN PART Plaintiffs’

Motion for Summary Judgment (ECF No. 34), GRANTS IN PART AND DENIES IN PART

Defendants’ Motion for Summary Judgment (ECF No. 45), GRANTS IN PART AND DENIES

IN PART Intervenor-Defendant Louisiana’s Motion for Summary Judgment (ECF No. 42), and

GRANTS IN PART AND DENIES IN PART Intervenor-Defendant American Petroleum

Institute’s Motion for Summary Judgment (ECF No. 43). It is hereby:
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       ORDERED that the Record of Decision for Lease Sale 257, and the action taken based

on that Record of Decision, including Lease Sale 257, is VACATED and REMANDED to the

agency for further proceedings consistent with the Court’s Memorandum Opinion.

       SO ORDERED.


Dated: January 27, 2022                                      RUDOLPH CONTRERAS
                                                             United States District Judge




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